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                      IN THE UNITED STATES DISTRICT COURT ,.

                           FOR THE DISTRICT OF WYOMING




FRANK SACCA,

       Plaintiff,

vs.                                                         Case No. 18-CV-00025-ABJ


WYOMING WHISKEY, INC.,
BRADFORD MEAD,
KATHERINE MEAD, and
DAVID DEFAZIO,

       Defendants.



                     ORDER ON INITIAL PRETRIAL CONFERENCE




Anticipated Length of Trial: _5     days

Jury: X        Non-Jury:


1.    Advice to Counsel    CONSENT TO TRIAL BY MAGISTRATE JUDGE. The parties
                           are all aware of the provisions of 28 U.S.C. § 636(c) and U.S.D.C.L.R.
                           73.1(b), and acknowledge that this case will proceed before the
                           District Judge assigned hereto, and not before the Magistrate Judge
                           located in Cheyenne, Wyoming. However, the parties are not
                           precluded from consenting to trial before a Magistrate Judge anytime
                           sixty (60) days prior to the trial date.

             Not           This is/is not a complex case.

            Have           The parties have/have not complied with the requirements of Rule
                           26(f) of the Federal Rules of Civil Procedure. The parties have a
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                          continuing duty to supplement or correct all discovery disclosures or
                          responses in accordance with Fed. R. Civ. P. 26(a) and (e) and
                          U.S.D.C.L.R. 26.1(c).

            Have          The parties have/have not complied with the self-executing routine
                          discovery exchange as required by U.S.D.C.L.R.26.1(b). The parties
                          have a continuing duty to supplement or correct all discovery
                          disclosures or responses in accordance with Fed. R. Civ. P. 26(a) and
                          U.S.D.C.L.R. 26.1.


      Advice to Counsel   RULE 26 DISCOVERY: The parties are advised to be aware of
                          obligations arising under Fed. R. Civ. P. 26, including but not limited
                          to obligations concerning electronically stored information. The
                          parties shall ensure that anticipated discovery is proportional to the
                          needs of the case and shall consider all matters set forth in Rule 26(b)
                          regarding the scope of discovery in general. The parties indicate that
                          they have conferred with their respective clients regarding their
                          obligations concerning electronically stored information.

             Yes          EXCHANGE OF NAMES OF INDIVIDUALS LIKELY TO
                          HAVE DISCOVERABLE INFORMATION AND LISTS OF
                          EXHIBITS has been commenced and may be revised and
                          supplemented as discovery continues.

7.          N/A           LIMITED LIABILITY COMPANIES (LLC) AS PARTIES: If
                          parties include an LLC, identify what efforts have been made to
                          identify all members of the LLC and their state of residence and
                          whether that information has been disclosed to the opposing party. If
                          not, explain why that has not occurred. That information shall be
                          provided to the opposing party on or before this date.

8.         5/25/18        NEW PARTIES: New parties shall be joined by this date. However,
                          if such a request is made at a later date, all requests to join new parties
                          will be referred to the Magistrate Judge for disposition.

9.        5/25/18         AMENDMENTS TO PLEADINGS: Amendments to pleadings may
                          be made without motion by this date. All requests to amend pleadings
                          after this date will be referred to the Magistrate Judge for disposition.

10.    None Identified    DISPUTES REGARDING ARBITRATION: (Identify if there are
                          any)
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11,    9/21/18      EXPERT WITNESSES FOR PLAINTIFF shall be identified by a
                    report listing the qualifications of each expert, each opinion the expert
                    will present, and the basis for each opinion. All designations of expert
                    witnesses must fully comply with the provisions of Fed. R. Civ. P. 26,
                    including but not limited to. Fed. R. Civ. P. 26(a)(2) and Local Rule
                    26.1(e) and must be completed by this date. Expert witness
                    designations and reports should be filed and served.

                    Any expert report setting forth expert opinions must include any and
                    all exhibits used to summarize or support the report, and counsel are
                    reminded that this requirement includes demonstrative exhibits as
                    well.


12.    10/19/18     EXPERT WITNESSES FOR DEFENDANT shall be identified by a
                    report listing the qualifications of each expert, each opinion the expert
                    will present, and the basis for each opinion. All designations of expert
                    witnesses must fiilly comply with the provisions of Fed. R. Civ. P. 26,
                    including but not limited to. Fed. R. Civ. P. 26(a)(2) and the
                    provisions of Local Rule 26.1(e). Expert witness designations and
                    reports should be filed and served.

                    Any expert report setting forth expert opinions must include any and
                    all exhibits used to summarize or support the report, and counsel are
                    reminded that this requirement includes demonstrative exhibits as
                    well.


13.    11/16/18     ALL DISCOVERY, including fact discovery and all expert
                    witness depositions must be completed by this date. Written
                    discovery requests are not timely if they are filed so close to this
                    deadline that the recipient would not be required under Federal Rules
                    of Civil Procedure to respond until after the deadline.

14.      NA         INDEPENDENT MEDICAL EXAMINATIONS: The provisions of
                    Rule 35, "Physical and Mental Examinations," of the Federal Rules of
                    Civil Procedure shall govern the conduct of independent medical
                    examinations of a party whose mental or physical condition is in
                    controversy. All steps required to accomplish an IME, examiner's
                    reports and depositions, if appropriate must be completed no later than
                    this date or 6 weeks before trial.
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                    Counsel are to work together cooperatively with regard to scheduling
                    IMEs, expert designations and depositions to ensure completion of
                    these tasks no later than six weeks before trial is scheduled to
                    commence.



15.    11/30/18     DISPOSITIVE MOTIONS to be filed no later than this date.
                    Requests for oral argument or hearing must be filed at the same time
                    dispositive motions are filed. No hearing will be held on any
                    dispositive motion in the absence of a timely request for hearing and
                    as further ordered by the Court by separate order. Generally,
                    however, all dispositive motions will be decided on the briefs
                    without oral argument.

16.    12/14/18     RESPONSES TO DISPOSITIVE MOTIONS to be filed by this
                    date or, if dispositive motions are filed earlier than the date set out in
                    paragraph 11, above, within 14 calendar days after service of the
                    dispositive motion. Requests for oral argument or hearing must be
                    filed at the same time responses to dispositive motions are filed. No
                    hearing will be held on any dispositive motion in the absence of a
                    timely request for hearing and as further ordered by the Court by
                    separate order. Generally, however, all dispositive motions will be
                    decided on the briefs without oral argument.

17.    12/21/18     REPLIES TO DISPOSITIVE MOTIONS may only be filed if no
                    oral argument or hearing has been set upon request and must be filed
                    within 7 calendar days after service of any response brief, or no later
                    than this date. No oral argument will be held if a reply is filed.

18.    11/30/18     ALL OTHER PRETRIAL MOTIONS (including Daubert/Kumho
                    motions and motions pursuant to Fed. R. Evid. 702, but not including
                    other motions in limine) will be filed by this date. Daubert/Kumho
                    motions, motions to strike experts and motions pursuant to Fed. R.
                    Evid. 702, should not be filed and disguised as motions in limine and
                    must be filed by this date.

19.    12/14/18     RESPONSES TO ALL OTHER PRETRIAL MOTIONS
                    (including Daubert/Kumho motions, motions to strike experts and
                    motions pursuant to Fed. R. Evid. 702, but not including other
                    motions in limine) will be filed by this date.

20.    12/21/18     REPLIES TO ALL OTHER PRETRIAL MOTIONS (including




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                    Daubert/Kumho motions, motions to strike experts and motions
                    pursuant to Fed. R. Evid. 702, but not including other motions in
                    limine) will be filed by this date.

21,    1/18/19      JOINT FINAL FRETRIAL MEMORANDUM shall be filed on or
                    before this date. Plaintiff is responsible for timely filing the complete
                    Joint Final Pretrial Memorandum in the form set forth in Appendix C
                    to the Court Procedures for Judge Alan B. Johnson. In addition to
                    filing the Joint Final Pretrial Memorandum, it must also be sent as an
                    attachment via email directly to Judge Johnson's Chambers,
                    wyoiudgeabi@wvd.uscourts.gov. formatted for Microsoft Word.

22.    1/18/19      MOTIONS IN LIMINE shall be filed with the Joint Final Pretrial
                    Memorandum by this date.

23      2/1/19      RESPONSES IN OPPOSITION TO MOTIONS IN LIMINE shall
                    be filed 14 calendar days after the motion in limine is filed or no later
                    than this date.


24      2/8/19      REPLIES TO RESPONSES IN OPPOSITION TO MOTIONS IN
                    LIMINE shall be filed 7 calendar days after the response to the
                    motion in limine is filed or no later than this date.


25     2/25/19      FINAL PRETRIAL CONFERENCE shall be held on this date at
                    9:30 a.m. in Cheyenne, Wyoming. One hour will be allotted for the
                    final pretrial conference. The parties shall exchange exhibits and
                    witness lists prior to the date set for the Final Pretrial Conference.

26     3/25/19      JURY TRIAL shall be held on this date in Cheyenne, Wyoming,
                    commencing at 1:30 p.m.

27     3/18/19      For a JURY TRIAL, the parties SHALL exchange and file
                    proposed voir dire questions, jury instructions and special verdict
                    forms no later than this date, subject to the right of counsel to
                    supplement such requests during the course of trial on matters that
                    cannot be reasonably anticipated. Proposed jury instructions, verdict
                    forms and voir dire shall be submitted in writing and filed, as usual,
                    and sent as an attachment via email directly to Judge Johnson's
                    Chambers, wvoiudgeabi @wvd.uscourts. gov. formatted for Microsoft
                    Word. Each party may also submit a separate concise statement of
                    their contentions, which shall be no more than one and one-half pages
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                          in length. Requests for instructions are to include one set with
                          authority and one additional set ready for submission to the jury; no
                          signature block on the bottom of each instruction is necessary. Stock
                          instructions need not be provided. However, if the parties desire
                          instructions that differ from the stock instructions, they may provide
                          them with their proposed substantive instructions.

28         3/18/19        JURY EVIDENCE RECORDING SYSTEM (JERS): The Court is
                          implementing a new system for electronic submission of exhibits to
                          the jury. The jury evidence recording system (JERS) allows jurors to
                          review evidence (documentary, photo, or video exhibits) on a large
                          plasma screen during deliberations. Attorneys should provide their
                          trial exhibits in electronic format on a USB drive, DVD, or CD to
                          the Office of the Clerk of Court on or before this date. Attorneys are
                          required to provide their exhibits in the following electronic formats:
                          •      Documents and Photographs: .pdf, .jpg, .bmp, .tif, .gif
                          •      Video and Audio Recording: .avi, .wmv, .mpg, .mp3, .mp4,
                                  .wma, .wav
                          Regarding the size of electronic evidence, individual files should not
                          exceed 500MB. If possible, exhibits approaching or exceeding this
                          size limit should be separated into multiple files.

                          Information regarding JERS is available on the Court's website at
                          http://www.wvd.uscourts.gov/htmlpages/iers.html. Parties may obtain
                          additional information regarding the submission of electronic exhibits
                          by contacting the Clerk's Office at (307) 433-2120.

29.   Advice to counsel   MEDIATION/ADR:

                          Mandatory Dispute Resolution. In addition to stipulated agreement,
                          the Court may schedule a settlement conference whenever the Court
                          concludes that the nature of the case, the amount in controversy, or the
                          status of the case indicates a settlement conference might be
                          beneficial. Upon the request of any party, which may be made ex parte
                          and at any stage of the proceedings, the Court will consider scheduling
                          a settlement conference.



DEADLINES WILL NOT BE CHANGED, ABSENT COMPELLING OR EXTRAORDINARY
CIRCUMSTANCES. THE PARTIES SHOULD INFORM THEMSELVES OF ALL OTHER
DEADLINES THAT ARE APPLIED BY THE COURT, REFLECTED IN THE COURT
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PROCEDURES FOR HONORABLE ALAN B. JOHNSON, AND THE APPENDICES IN THE
COURT PROCEDURES, INCLUDING THE JOINT FINAL PRETRIAL MEMORANDUM
AND FINAL PRETRIAL ORDER.




     Dated this 2.^ day of April 2018.



                                         San b. JOHNSoi^
                                         UNITED STATES DISTRICT JUDGE
